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One Centennial Square
Haddonfield, NJ 08033-0968
(856) 795-2121

Attorneys for Defendants

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

SB BUILDING ASSOCIATES, LIMITED
PARTNERSHIP, SB BUILDING GP, L.L.C.,,
UNITED STATES LAND RESOURCES,
L.P., UNITED STATES REALTY
RESOURCES, INC.

and

7.04 ACRES OF LAND, More or Less, located :

within Block 58, Lot 1.03 of 2 to 130 Ford
Avenue, Milltown, Middlesex County, New
Jersey,

Defendants.

 

SB BUILDING ASSOCIATES, LIMITED
PARTNERSHIP, SB BUILDING GP, L.L.C.,
UNITED STATES LAND RESOURCES,
L.P., and UNITED STATES REALTY
RESORUCES, INC.,

Defendants/Third-Party Plaintiffs,
v.

ENVIRO-SCIENCES (OF DELAWARE),
INC.,

Third-Party Defendant.

Civil Action No. 08-CV-5298

THIRD-PARTY COMPLAINT

 

 
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Defendants/Third-Party Plaintiffs, $.B. Building Associates, Limited Partnership (“SB-
LP”), SB Building GP, L.L.C. (“SB-GP”), United States Land Resources, L.P. (“USLR”), and
United States Realty Resources, Inc. (“USRR”) (collectively “Third-Party Plaintiffs”), by and
through their counsel, hereby allege the following by way of third-party complaint against
Enviro-Sciences (of Delaware), Inc. (“ESI”):

NATURE OF THE ACTION

1, The underlying action filed by Plaintiff, the United States of America, is a civil
action brought under Sections 106(b)(1), 107(a) and 107(1) of the Comprehensive Environmental
Response, Compensation and Liability Act, as amended (“CERCLA”), 42 U.S.C. §§ 9606(b)(1),
9607(a) and (607(1), regarding the Algro Knitting Mills Site, located within Block 58, Lot 1.03
of 2 through 130 Ford Avenue, Milltown, Middlesex County, New Jersey (hereinafter, the
“Site”). Plaintiff's Verified Complaint is attached hereto as Attachment 1.

2. In the underlying action, Plaintiff alleges, among other things, that Third-Party
Plaintiffs are liable for stipulated penalties and civil penalties under CERCLA for failure to
comply with an administrative order on consent governing the removal of hazardous substances
from the Site.

3. The penalties sought by Plaintiff against Third-Party Plaintiffs include penalties
associated with the alleged late and/or incomplete submission of a revised workplan and various
reports, including a Final Report.

4, The penalties sought by Plaintiff in connection with Third-Party Plaintiffs’

alleged failure to timely submit a revised workplan and Final Report exceed $200,000.
 

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5. Third-Party Plaintiffs retained ESI to serve as the Project Coordinator responsible
for overseeing the removal of hazardous substances from the Site and preparing all necessary
workplans and reports in a prompt and professional manner,

6. It was ESI’s responsibility to ensure that the various workplans and reports
submitted in connection with the removal of hazardous substances from the Site were submitted
on time with all required paperwork and in accordance with al] applicable laws and regulations.

7. Through its negligent performance of its duties to Third-Party Plaintiffs, ESI has
subjected Third-Party Plaintiffs to potential stipulated and civil penalties and further required
Third-Party Plaintiffs to incur costs defending Plaintiff's claims in the underlying action.

JURISDICTION AND VENUE

8. This Third-Party Complaint arises out of the same transactions and occurrences
which are set forth in the Verified Complaint filed by Plaintiff, the United States of America.
Assuming jurisdiction and venue are proper with respect to the Verified Complaint, they are
proper with respect to the third-party claims set forth herein pursuant to 28 U.S.C. § 1367.

PARTIES

9. Defendant/Third-Party Plaintiff SB-LP is a New Jersey limited partnership with
its principal place of business at 237 South Street, P.O. Box 2049, Morristown, New Jersey.

10. Defendant/Third-Party Plaintiff SB-GP is a New Jersey limited liability company
with its principal place of business at 237 South Street, P.O. Box 2049, Morristown, New Jersey.

11. Defendant/Third-Party Plaintiff USLR is a New Jersey limited partnership with its
principal place of business at 237 South Street, P.O. Box 2049, Morristown, New Jersey.

12. Defendant/Third-Party Plaintiff USRR is a New Jersey corporation with its

principal place of business at 237 South Street, P.O. Box 2049, Morristown, New Jersey,

 

 
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13. | Upon information and belief, Third-Party Defendant ESI is a corporation
organized under the laws of the State of Delaware with its principal place of business and
mailing address at 111 Howard Boulevard, Suite 108, Mount Arlington, NJ 07856.

COUNT 1
INDEMNIFICATION

14. _ Third-Party Plaintiffs incorporate the allegations of paragraphs 1 through 13
above, as if they were set forth herein.

15, If it should be determined that Third-Party Plaintiffs are liable in whole or part for
any of the stipulated or civil penalties alleged by Plaintiff in the Verified Complaint, which
allegations are specifically denied, then Third-Party Plaintiffs’ liability for the acts and omissions
permitting the imposition of such penalties is secondary and passive only. Primary and active
responsibility for the alleged penalties is the result of acts and omissions of ESI, including failure
to prepare and timely submit full and complete workplans and reports.

WHEREFORE, Third-Party Plaintiffs demand judgment against ESI for the following

relief:

 

A, Judgment for indemnification against ESI for all penalties imposed against Third-
Party Plaintiffs in connection with the Site.

B. Interest, cost of suit and attorneys fees incurred in connection with prosecuting
and defending this action; and

C. Such other relief as the court deems equitable and just.

COUNT II
STATUTORY CONTRIBUTION

16. Third-Party Plaintiffs incorporate the allegations of paragraphs 1 through 15

above, as if they were set forth herein.

 

 
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17. If it should be determined that Third-Party Plaintiffs are liable to Plaintiffs for all
or part of the stipulated and civil penalties alleged in the Verified Complaint, which allegations
are specifically denied, then Third-Party Plaintiffs are entitled to contribution from ESI, pursuant
to the terms and provisions of the Joint Tortfeasors Act, N./.S.4.2A:53-1, et seq., and the
Comparative Negligence Act, V.J.S.A. 2A:15-5.1, et seq., as such penalties are attributable to the
negligent acts or omissions of ESI, including failure to prepare and timely submit full and
complete workplans and reports.

WHEREFORE, Third-Party Plaintiffs demand judgment against ESI for the following
relief:

A. Contribution from ESI for all penalties imposed against Third-Party Plaintiffs in

connection with the Site.

B. Interest, cost of suit and attorneys fees incurred in connection with prosecuting

and defending this action; and

C. Such other relief as the court deems equitable and just.

Respectfully submitted,

 

ARCHER & GREINER
A Professional Corporation
Attorneys for Defendants

BY: /s David F. Edelstein

CHRISTOPHER R. GIBSON
DAVID F. EDELSTEIN

Dated: August 7, 2009

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ATTACHMENT 1

 

 
 

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‘UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA,
Plaintiff, .

¥, Civil Action No.
-$B BUILDING ASSOCIATES, LIMITED
PARTNERSHP, ,
. SB BUILDING GP, L.L.C.,
UNITED STATES LAND RESOURCES, L.P.,
UNITED STATES REALTY RESOURCES,
INC.,

I

and

7.04 ACRES OF LAND, Mate or'Less,
located within Block 58, Lot 1.03 of
2 to 130 Ford Avenue, Milltown, -

' Middlesex County, New Jersey,

Defendants.

 

 

 

 
 

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' The United States of America by suthority of the Attomey General of the
United States and through the undersigned attomeys, acting at the request of the Regional
Administrator of the United States Environmental Protection n Agency (“EPA”) for Region
1, files this complaint and alleges as follows: |
- NATURE OF |

1,. This is a civil = brought under Sections 106(b)), 107(a) and 1070 of 7
the Comprehensive Environmental Response, Compensation, and Liability Act, as
amended (“CERCLA”), Py U.S.C. §§ 9606(b)(1), 9607(8) and 107(), regarding the Algro_
Knitting Mills Superfund Site, located within Block 58; Lot 1.03 of 2 through 130 Ford -
Avenue, Milltown, Middlesex County, New Jersey (hereinafter, the “Site”). Plaintiff the

United States seeks:

 

| (a) recovery against Defendant SB Building Associates, ‘Limited Partnership |

(*SB-LP"), SB Building GP, L.L.C. (“SB- -GP”), United States Land Resources, L.P.
(“Land Resources”), and United States Realty Resources, Inc. (“Realty Resources”), for
response costs incurred by the United States pursuant to Section 107{a) of CERCLA, 42
USC. § 9607(a), in connection with the release or threatened release of hazardous |
substances at or from the Site; | |

(b) enforcement of an administrative order on ‘consent against SB-LP, SB-
GP, Land Resources and Realty Resourses, including the imposition of stipulated and.
civil penalties, against them for the failure to comply therewith; and, -

-2-

 

 

 
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(c) recovery in rem of all costs constituting the lien of the United States
pursuant to Section 107) of CERCLA, 42 U. S.C. § 960709 (CERCLA lien"), against
| Defendant 7.04 Acres of. Land, More or Less, located within Block 58, Lot 1.03 of 2-
through 130 Ford Avenue, Milltown, Middlesex County, New J érsey ("7.04 Acres of |
Land”); | | |
2. This Court has jurisdiction over the subject matter of this action and over -
SB-LP, SB-GP, Land Resources and Realty ‘Resources under 28 U. s. Cc. g§ 1331 and 1345
. and Sections 107(a) and 113(b) of CERCLA, 42 U. 8. Cc, §§ 9607 and 9613(0).
| 3. ‘This Court has jurisdiction j in rem over 7.04 Acres of Land pursuant to
Section Lon) of CERCLA, 42 U.S.C. § 9607()(4), 28 U.S.C. § 1655, and Federal
Rule of Civil Procedure 4(n). | | 7 |
4, “Venvei is proper in this judicial district for the claims against SB-LP, SB.
| GP, Land Resources and Realty Resources pursuant to 28 U.S.C. §§ 13910) and 1395,

 

| and Section 113(b) of CERCLA, 42 v. s. C, § 96 13(b), because the releases or threatened
releases of hazardous substances that gave rise to this claim occurred in this district, SB-
LP, SB- GP, Land Resources and Realty Resources reside i in this district; and. the Site is |
“Jocated in this district.
5. Venue i is proper in this judicial district for the in rem claim against 7 04 .

Actes of Land pursuant to Section 107(2)(4) of CERCLA, 42 U.S.C. § 9607()(4), and 28 .

3.

 

 

 
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USC. § 1391(b), because 7,04 Acres of Land is located, and the removal action’ at the

te

‘Site occurred, in this district.
DEFENDANTS .

6. Defendant SB-LP is a New Jersey limited partnership with its principal
place of business and mailing address at 237 South Sire, P.O. Box 2049, Morristown,
New Jersey, and is isa “person” within the meaning of Section 101(21) of CERCLA, a2.
US c. §9601(21).

7. SB-LP is the owner of the Site, including 7. 04 Acres of Land,

8. - Defendant SB-GP i isa New Jersey limited partnership with its principal

place of business and mailing address at 237 South 2 Stect, Py 0. Box 2049, Morristown,
. New J ersey, and is a “person” within the! meaning of Section 10121) of CERCLA, 42
U.S.C, § 9601(2 1). SB-GP at relevant times was a general partner of SB-LP, andis -
therefore, liable for the obligations of SB-LP. |

9. - Defendant Land Resources i isa New Jersey limited Partnership with its
principal place of business and mailing address at 237 South Street, P.O, Box 2049,
Morristown, New Jersey, and is 4 “person” within the t meaning of. Section 101(21).of
CERCLA, 42 U.S.C.'§ 9601(21). Land Resources at relevant times was also a general

partner of. SB-LP, and i is therefore, liable for the obligation of SB-LP.

 

10. Defendant Realty Resources i is a New J ersey limited corporation with its

principal place of business and mailing address at 237 South Street, P. O. Box 2049, .

4

 

 

 

 
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_ Morristown, New Jersey, and is a “person” within the ‘meaning of Section 101({21)} of
CERCLA, 42 USC. § 9601(21), Realty Resources at relevant ti times was a general
partner of Land Resources, and is, therefore, liable for the obligations of both SB-LP and -

Land Resources. |

LL. "Defendant 7 04 Acres of Land is described more particularly i in the tax rolls
of the Borough of Milltown/Middlesex County, and is described farther i in a deed from |
Algro Knitting Mills, Inc., to SB-LP as recorded in the office of the Clerk of Midaesex
"County in deed book 3576, beginning at page 191, as follows: )

An that certain lot, piece or parcel of land, with the: buildings and’
’ improvements thereon erected, situate, lying and being in the Borough of —
Milltown County of Middlesex State of New Jersey:

BEGINNING at a point in the centerline of Clay Street (a 50° wide right of
way) said point being distant therein 84.00 feet, as measured southeasterly
’ . along said centerline from the point formed by the intersection of the same

with the southeasterly line of Ford Avenue (a 75' wide right of way), said
-point being the same beginning point as recited in a‘deed from AG Realty -
Corp., to Algro Knitting Mill, Inc. as recorded in the office of the Clerk of |
Middlesex County in deed book 1374, beginning at page 132. And from
said beginning point running. thence;

-.1) __ Along the ‘centerline of Clay Street and the continuation thereof,
South 40 degrees.14 minutes 30 seconds East, a total distance of
277. 57 feet to a point, thence;

 

2) . South 49 degrees 45 minutes 30 seconds West, a distance of 961 36
. feet (along the northwesterly line of lot 1-B) to a point and comer of
tax lot 1-G (said point being also the terminus of an unimproved road
known as Brook Drive - a 60' right of way), thence; _

 

3) Along said lot 1-G, North 40 degrees 14 minutes 30 seconds West, a
distance of 399,07 feet to a point formed by the intersection ofa

“oS=

 

 

 

 
 

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continuation of said lot line with the centeine of Ford Avenue (or
its extension thereof), thence;

4) ~~ Along said centerline North 49 degrees 14 minutes 30 seconds Bast,
. adistance of 436.36 feet to a Point i in the present terminus of Ford
Avenue, thence;

5) ” Along’said terminal line and also along the southwesterly line of tak .
lot.10, South 40 degrees 14 minutes 30 seconds East, B distance of
-. 162.50 feet to a point, thence;

6): Along the rear of lots 10, 9, 8, 7, 6,,and 5-B, North 49 degrees 45
minutes 30 seconds East, a distance of 261 48 feet toa point, thence; .

1). Still along lot 5-B, North 40 degrees 14 minutes 20 seconds West, a
. ‘distance of 41. 00 feet to a point, thence; .

8) Along the retriaindet of lot 5-B, lots 4,3, 2, 1 and into Clay Street,
North 49 degrees 45 minutes 30 seconds East, 8. distance of 263, 52
‘feet to the point and place of BEGINNING.

The above description is. drawn i in. accordance with a. survey made by BZA.
_ Consultants dated. 12/2/86,

Being all of the remaining lands of the grantor segues by the following
. deeds:

(A) Deed fron A. G. Realty Corporation, a corporation of the State of
New Jersey, to Algro Knitting Mills, Inc., a corporation. of the State
‘of New Jersey, dated December 26, 1947, recorded January 5, 1948
_in deed book 1374 page 132. (Covers Lot 1C, Block 58 and other
lands) .

(B) Deed from Spier Realty Corp.,'a New Jersey corporation, toAlgro . ~
. Knitting Mills, Inc., 2 New-Jersey Corporation dated April 11, 1967,
_ recorded April 12, 1967 in deed book 2577 page 222. (Covers °
a Portion of Lot 1c and other lands)

(C) " Deed from Alexander Grodnick, Dorothy Grodnick and Martin R.
' Grodnick, Trustees, in Liquidation of A. G, Realty Corporation, a

6.

 

 
 

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New Jersey corporation, to Algro Knitting Mills, Inc., a New lersey
_ Corporation, dated August 23, 1968, recorded August 29, 1968 i in
deed book 2632 page 775. (Covers Lot 5A; Block 59A).

THE STATUTORY SCHEME .
12, CERCLA was enacted in 1980 to provide a comprehensive governmental _
mechanism for abating releases and threatened releases of hazardous substances and other
. pollutants and contaminants and for funding the costs of such abatement and related
enforcernent stivities, which are known as “response actions, ” 42 U.S.C. 55 9604{a), |
9601(25). |
| (3, Under Section 104(a)(1) aman 42 U.S.C, § 9604()(1):

Whenever.(A) any hazardous substance is released or there is a substantial ©
threat of such a release into the environment, or (B) there isa release or |
substantial threat of release into the environment of any pollutant or . .
contaminant which may ‘present an imminent and substantial danger to the
public health or welfare, the President is authorized to act, consistent with
the national contingency plan, to remove or arrange for the removal of, and
provide for remedial action relating to such hazardous substance, pollutant,
or contaminant at any time (including its removal from any contaminated
natural resource), or take any other response measure consistent with the

_ Rational contingency plan which the President deems necessary to protect
‘the public health or welfare or the environment .

14. Under Section 106(a) of CERCLA, 42 U.S.C. § 9606(2)

[When the President determines that there may be an imminent and
substantial endangerment to the public health or welfare or the environment

_- because of an actual or threatened release of a hazardous substance from a

' facility, he may require the Attorney General of the United States to secure

such relief as may be necessary to abate such danger or threat, and the _
district'court of the United States in the district in which the threat occurs
shall have jurisdiction to grant such relief as the public interest and the
equities of the case may require. The President may also, after notice to the

 

 

 

 
 

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affected State, take other action under this section including, but not limited
‘to, issuing such orders as may be necessary to Protect public health and -
welfare and the environment,
15, For CERCLA response actions 5 and enforcement: Purposes, the
- Administrator of EPA is the President's delegate, as provided in operative Exeoative
. Orders, and, within certain limits, the Regional Administtators of EPA have been re-
- delegated:this authority. | |
16. Under Section 106(b)(1) of CERCLA, 42 U.S.C. § 9606(b)( U):
Any person who, without sufficient cause, willfully violates, or fails or
refuses to comply with, any order of the President under subsection (a) of
this section may, in an action brought in the appropriate United States
district court to enforce such order, be fined not more than $25,000 for each
day in which such violation occurs or such failure to comply continues.
- ¥7, Pursuant to the Debt Collection Improvement Act of 1996, Pub. L.
No. 104-134, 1 10 Stat. 1321 (“DCIA”), the maximum civil penalty for noncompliance
with an administrative order occurring after March 15, 2004, is $32,500.
18. Under Section 107(a)of CERCLA, 42 U.S.C. § 9607(a):
| (1) . [TJhe owner.:,ofa... facility, [and]
(2). any person who at the time of disposal of any hazardous substances .
- owned... any facility at which such hazardous substances ‘were
disposed of..
shall be liable for --
(A) all costs of removal or remedial action incurred by the United

States Government or a State .. , not inconsistent with the national .
contingency plan... .

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19,

The amounts recoverable in an action under this section shalt include
interest on the amounts recoverable under subparagraphs (A) ..

Section 107() of CERCLA, 42 U. S.C. § 9607(0), provides i in pertinent part:.
(1) In.gencral |

All costs and damages for which a person is liable to the United

States under subsection (a) of this section . . . shal] constitute a lien

in favor of the United States upon all Teal property and sights to such
property which --

(A) belong to such person; and

(B) . are subject to or affected by a removal or remedial
action. .

(2) Duration
The lien imposed by this subsection sal arise at the later of the

following:

(A) | The-time costs are first incurred by the United States |
"with respect to a response action under this chapter.

(B) — The time that the person referred to in paragraph (t)is
uo provided (by certified or registered mail) written notice
of potential liability. . ,

Such lien: shall continue until the liability for the costs (or a s judgment
o against the person arising out of such liability) is satisfied or
. becomes unenforceable through operation of the statute of.

limitations provided in section § 9613 of this title.
(4) Action in rem
The costs constituting the lien may be recovered in an action in rem:

in the United States district court for the district in which the
removal or remedial action is occurring or has occurred.

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GENERAL ALLEGATIONS - |
20. To address the release or threatened retease of hazardous substances at the.
Site, EPA has conducted response activities in connection with the Site, pursuant to
‘CERCLA Section 104, 42 U,S.C. § 9604, |
21. The Site is located within an area of shixed commercial and residential use,
and inciudes structures, Building 13 and Building 13A, a loading dock to Building 13.
Buildings 13 and 13A are > currently vacant. |
22, SB-LP haé been the owner of the Site since December 1986. |
23. In October 200 1, the Middlesex County Hazardous Materials Unit (“Unit”)
| responded ioa leaking drum marked as toluene sulfonic acid inside Building 13, The
| Unit overpacked the leaking drum and consolidated other drums and containers into
| various areas of the building.
| 24. Thereafter, in April 2004, EPA conducted a removal site evaluation.
During the evaluation, EPA found numerous 55 galion drums and approximately 200°
smaller containers containing industria! and paint-related wastes in Building 13.
| 25, The containers and drums contained liquids, pesticides and paint wastes -
containing, inte alia, heavy metals such as chromium, lead and mercury, in

concentrations exceeding the toxicity characteristic, ignitability and/or comrosivity

 

specified pursuant to the. Resource Conservation and Recovery Act, 42 U.S.C, § 9601, et

- Seq. The. containers also revealed the presence of elevated organic vapor concentrations.

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concentrations. Several of the drums were leaking onto the floor, and some were bilging
and/or badly rusted, Significant quantities.of combustible wooden pallets, crates and ©
refuse were found piled around the containers. .

26. In addition, the condition of Building 13 was in disrepai For example, the
wooden roof was leaking and badly sagging, exposing, the containers and their contents to
the elements. The building did not have a working sprinkler system, exacerbating the .

threat of fire from the ignitable liquids and combustible wooden debris. Moreover,
- Building 13 was not safely secured,
. 21. Effective September 15, 2004, SB-LP and EPA entered i into.an-

administrative order on consent pursuant to Section 106 of CERCLA, 42 U.S.C. 5: 9606,

 

: ite, g, Index Number CERCLA-02-
2004-2022 (hereinafter, the “AOC, wherein SB-LP agreed, inter alia, to: provide Site.
security; scgregate hazardous niaterials; sample the ‘contents of drums and containers;
repack all deteriorated drums and containers; and. ship the materials off-site for .

; disposal/treatment. Pursuant to the AOC, SB-LP also agreed, among other things, to:
timely submit work plan(s) arid interim and final report(s) timely submit financial

- assurance of its ability to perform the removal. action; and, timely reimburse certain EPA —
costs. |

28. In addition, SB-LP also agreed to pay specified stipulated penalties for its

failure to. comply with provisions of the AOC, as well as pay | interest on late

 

 

 

 
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. reimbursement payments due EPA under the AOC, EPA retained its eh to obtain, in
/ addition, civil penaties under Section 106(6)(I) of CERCLA, 42US.C,
8 9606(b)(1 dy for failure to comply with the AOC,
| 29, ‘SB-LP failed to -comply with the AOC in at least the following ways: it |
: failed to timely submit a required revised work plan i in order’ to ‘allow work to begin at ‘the
Site; it failed to timely obtain the required financial assurance; it failed to timely submit .
various: reports, including the final teport after completion of the removal action; and, it
vo failed to reimburse EPA the costs SB-LP agreed to. pay in the AOC.
30. On December 14, 2006, and pursuant to Section 1070) of CERCLA, 42 _
U.S.C. 9607()), EPA recorded e “Notice of Federal Lien” in the Clerk's Office of the | a
County of Middlesex, New Jersey. Prior notice of EPA’s intent to file the lien, and the
| . opportunity to confer with EPA prior to its filing, were provided to SB-LP on November -
7, 2006, :
3 I. : The Site i isa “taellity” within the meaning of Section 1016) of CERCLA,
42 U.S.C. § 9601(9). | .
32, _ At times relevant to this action, there were “releases” or threats of releases 7

of hazardous substances into the environment at or from the Site within the meaning of

 

Sections 101(22), and 107(a) of CERCLA, 42 U.S.C. § 9601(22) and 9607 (a).

 

33. : ‘The substances found at the Site as aforessid were and are “hazardous: .

. substances” within the meaning of Sections 101(1 4) and 1078) of CERCLA, 42 U.8.C.

“612.

 

 

 

 
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—§ 9601( 14) and 9607(8).
34. EPA's actions with respect to the Site constitute “response” actions within
the meaning of Section 101(25) of CERCLA, 42 U.S.C. § 9601(25).
35. In undertaking response actions to address the release or threat of release of |
| hazardous substances at the Site, EPA hes incurred response ‘costs of at least $213, 000,
plus interest, and continues toi ineur ‘such costs. |
36. The response costs incurred by EPA in connection with the Site were
incurred in a manner not inconsistent with the National Contingency Plan, promulgated :
pursuant to Section 105 of CERCLA, 42 U.S.C. § 9605, and codified at 40 CER: Part
300. So - a
37. . The United States has nit been reimbursed for any of the response costs the

‘United States inéurred at the Site despite its demands and requests to SB-LP therefor.

 

38. Paragraphs | - 37, above, are realleged and incorporated herein by

reference.

39, Pursuant to Section 107(a)(1) and (2) of CERCLA, 42 U.S.C. § 9607(6)(1)

 

and (2), as the current owner of the facility subject ‘to the response actions undertaken at :
_ the Site, as well as the owner of the facility at the time hazardous substances were

' disposed of there, Defendants SB-LP is jointly and severally liable to the United States

 

for all costs incurred in connection with the Site, including enforcement costs

"23.

 

 

 

 
 

 

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40. . ‘Defendants SB-GP, Land Resouroes and Realty Resources, as general.
partners of SB-LP. and/or Land Resources, as aforesaid, are likewise jointly and severally
liable for the obligations of SB-LP and/or Land Resources.

41.” Paragraphs | - 40; above, are realleged and incorporated herein by
reference. | | | | 7
“42, Pursuant to Section 106(6\1) of CERCLA, 42 1S.C. § 9606(1}, and the
-DCIA, Defendant SB-LP is liable, jointly and severally to the United States foracivil
| penalty of "P to $32,500 per day for its failure to comply with the AOC. |

43. Defendants SB-GP, Land Resources and Realty Resources, as general -

| partners of SB-LP and/or Land Resources, as 5 aforesatd, are likewise jointly and severally .

liable for the obligations of SB-LP and/or Land Resources. —

 

45. Defenidant SB-LP is liable, jointly and severally, to the United States for all
stipulated penalties and interest due and owing under the AOC for each of its files to
comply therewith.

“46. _ Defendants SB-GP, Land Resources and Realty Resources, as general

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partners of SB+LP and/or Land Resources, as aforesaid, are likewise joint and d-severally”
. liable for the obligations of SB-LP and/or Land Resources.
47... Paragraphs l- 37, above, are realleged and incorporated herein by
reference. _—— | | : aa |
48, Pursuant to Section 107()) of CERCLA, 42 U.S.C. § 9607(0), the costs
| incurred by the United States in this matter constitute a CERCLA lien upon the real” ,
: property which is subject to or affected by the Tesponse actions taken by EPA with respect |
| to the Site, including 7.04 Acres of Land. |
a : 49. A notice of CERCLA lien has been properly recorded by EPA pursuant |
" to Section 107% of CERCLA, 42 U.S.C. § 9607(), with respect to 7. 04 Acres of Land.
-§0. - Pursuant to Seotion 107(/)(2) of CERCLA, 42.U.S.C. § 9607(0(2), the lien
| will continue unti] liability for the United States’ unreimbursed response costs incurred i in

_ connection with the Site is satisfied.

 

 

$1. Pursuant to Section 107K of CERCLA, #2 USS.C. § 9607(014), the
costs constituting the lien may be recovered in an action in rem before this Court.
WHEREFORE, Plaintiff, United States of America, prays that this Court:
“1, Order Defendants SB-LP, SB-GP, Land Resources and Realty Resources,

jointly and severally, to reimburse the United States for all costs of response actions taken

“1S.

 

 

 

 
 

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at the Site, including all enforcement actions and interest, pursuant to Section 1076) of.

CERCLA, 42 U S. c. § 9607(a); . |
2, _ Order Defendants SB-LP, SB-LP, Land Resources and Realy Resoireesto
pay, jointly and several ly, a civil penalty of up to $32, 500 p per day for each day it
failed/fails to comply with the A0C; .
3. Order Defendants SB-LP, SB-LP, Land Resources and Realty Resources to |
Pay, jointly and severally, all stipulated penalties, including interest, due and owing for its

failure to comply with the AOC; . |
4. | Order that Defendant:7. 04. Acres of Land be sold and that the proceeds from |

such sale be paid to the. United States in reimbursement of response costs; .

5. Award the United States its costs of this litigation; and,

 

 

 

 

 
 

 

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6. Grant such other and further relief as the Court deems appropriate.
Respectfully submitted,

- RONALD J. TENPAS
. Assistant Attorney General
Environment and Natural Resources Division
. United States Department of Justice

ELLEN MAHAN

Deputy Chief
Environmental Enforcement Section

Dated: October 27, 2008 j
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_ OF COUNSEL:

LEENA RAUT

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(212) 637-3122

VERIFICATION OF COMPLAINT.

I, THOMAS BUDROE, am employed by the United States Environmental
Protection Agency as an On Scene Coordinator. | have been responsible for the EPA's
response actions at the Algro Knitting Mills Superfund Site which is the subject of this

~ Verified Complaint. I have reviewed EPA's enforcement files and also have personal
knowledge pertaining to certain of the facts addressed herein. I swear under pains of
perjury that the allegations set forth above are true and accurate to the best of my
knowledge.

Date: Catpten ae 2mp )
THOMAS BUDROE
’ On-Scene Coordinator

Emergency and Remedial Response Division
U.S. Environmental Protection Agency
2890 Woodbridge Avenue
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